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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

JESSE HAMMONS,                                                )
                                                              )
               Plaintiff,                                     )
       v.                                                     )      Case No. 1:20-cv-02088-DKC
                                                              )
UNIVERSITY OF MARYLAND MEDICAL SYSTEM                         )
CORPORATION, et al.                                           )
                                                              )
               Defendants.                                    )
                                                              )

             DEFENDANTS’ NOTICE OF CONDITIONAL CROSS-APPEAL

       Defendants, pursuant to Fed. R. App. P. 4(a)(3), hereby file this notice of conditional cross-

appeal to the U.S. Court of Appeals for the Fourth Circuit from the order denying Defendants’

motion for summary judgment and granting Plaintiff’s cross-motion for summary judgment (ECF

No. 122), which is incorporated into the final judgment entered on March 13, 2023 (ECF No. 133).

Defendants file this notice of conditional cross-appeal to preserve their right to appeal that order

if and only if the Court of Appeals concludes that it has jurisdiction over Plaintiff’s appeal.


       April 21, 2023

       /s/ Denise Giraudo
       Denise Giraudo (Bar No. 29015)                     Yaakov M. Roth
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